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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA
          Plaintiff,

vs.                                                 Case No. 3:07cr114/LAC

ALEKSANDER V. BERMAN,
 a/k/a Aleksandr Berman,
 a/k/a Vladimir Berman,
 a/k/a Alex Berman,
              Defendant.
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                  ORDER TO CORRECT SCRIVENER’S ERROR

        THIS CAUSE comes before the court upon the Government’s Motion to Correct

Scrivener’s Error. The Court being fully advised in the premises;

IT IS HEREBY ORDERED:

        The VIN number for the 1995 Nissan Quest XE/GXE is hereby changed from

4N22DN11W6SD861428 to 4N2DN11W6SD861428.

        IT IS SO ORDERED this 1st day of February, 2008.




                                     s /L.A. Collier
                                     LACEY A. COLLIER
                                     SENIOR UNITED STATES DISTRICT JUDGE
